The City Zoning Ordinance contains a definition of the word "lot" that appears in the zoning ordinances of some other cities.
Corden v. Zoning Board of Appeals of City of Waterbury, 1945,131 Conn. 654, 41 A.2d 912, 915, 159 A.L.R. 849. It was said in that case, 41 A.2d page 916: "The purpose of the provisions in the ordinance as to the uses of the land accessory to the single building which may stand upon a lot is not primarily to fix the character of a tract of land which may be regarded as a lot but to limit the land lying about the building which is so appurtenant to it as to constitute with it a single unit in use." See also Modern Builders, Inc. v. Building Inspector of the Cityof Tulsa, 1946, 197 Okla. 80, 168 P.2d 883.
The definition is highly artificial, since it states, in effect, that an unimproved tract is not a lot. Nowhere in the ordinance is there any limitation upon the size of a lot. Nor do I find in the ordinance any definite statement that a particular parcel of land cannot lawfully contain more than one building, or principal building. Paragraph 21 contains restrictions as to area, yard spaces and population density, which would seem to be equally applicable, whether a particular development is considered as one tract or several. In the instant case, it is not contended that the proposed development violates any of these requirements. The various municipal departments, the City Plan Commission, the Zoning Board and the Court below were all in agreement that the plan met all the requirements of the Ordinance. The restrictions contained in Zoning Ordinances should not be "extended by implication to cases not clearly within the scope of the purpose and intent manifest in their *Page 164 
language". Landay v. Board of Zoning Appeals, 173 Md. 460, 466,196 A. 293, 296, 114 A.L.R. 984.
There is little force in the objection that the absence of lot lines upon the plan submitted may lead to future difficulty, if the tract were sold off in parcels. Even if it would be practicable to sell piecemeal the various structures, designed for operation as a unit and with common facilities for heating, parking and other services, such a disposition of the property would not be prevented by the mere delineation of lines upon the plat. There would still be nothing to prevent the present owner from selling portions of the tract embracing more than one lot, or fractions of a lot, without regard to lines. In any event, it would seem that the zoning authorities would have to approve any additional buildings, or a future change in use of the tract.
The type of project under consideration was probably not contemplated at the time the ordinance was drafted, and was not dealt with specifically, as pointed out in the Akers case,179 Md. 448, 20 A.2d 181, 183. The problem here presented was not present in that case but the court stressed the "intended singleness in use and operation" of the property. To hold that the development of every tract must conform to the stereotyped conceptions of the era of the brown-stone front, puts an undue premium upon conventional design, and unduly limits architectural conceptions that attempt to meet the modern requirements of off-street parking, playgrounds and service facilities in common. The "garden-type" apartment design, like the university campus, should not be outlawed because it deals with the problem in an unconventional way. I think the order appealed from should be affirmed. I am authorized to say that Chief Judge MARBURY concurs in this dissent. *Page 165 